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                       UNITED STATES COURT OF INTERNATIONAL TRADE
                            BEFORE GARY S. KATZMANN, JUDGE


                                                     )
HISTEEL CO., LTD.                                    )
                                                     )
                           Plaintiff,                )
                                                     )
                            v.                       )
                                                     )
UNITED STATES,                                       )
                                                     )
                                                           Court No. 22-00142
                           Defendant,                )
                                                     )
                           and                       )
                                                     )
NUCOR TUBULAR PRODUCTS INC.                          )
                                                     )
                           Defendant-Intervenor.     )
                                                     )
                                                     )

                                        SCHEDULING ORDER

     Upon consideration of the parties’ Joint Status Report and Proposed Briefing

Schedule, filed pursuant to Rule 56.2(a) of this Court, it is hereby ORDERED that:

     Plaintiffs shall file their motion for judgment on the agency record and opening brief

no later than Monday, October 17, 2022;

     Defendant and Defendant-Intervenors shall file their response briefs no later than

Friday, December 16, 2022;

     Plaintiffs shall file their reply brief no later than Monday, January 13, 2023; and

     Any motion for oral argument shall be filed no later than 21 days after service of

the reply brief, or 21 days after the expiration of the period of time allowed for service

of the reply briefs.

     SO ORDERED.

Dated: ___________________, 2022                           ________________________
       New York, New York                                          Judge
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                    UNITED STATES COURT OF INTERNATIONAL TRADE
                         BEFORE GARY S. KATZMANN, JUDGE


                                                      )
HISTEEL CO., LTD.,                                    )
                                                      )
                         Plaintiff,                   )
                                                      )
                          v.                          )
                                                      )
UNITED STATES,                                        )
                                                      )
                                                            Court No. 22-00142
                         Defendant,                   )
                                                      )
                         and                          )
                                                      )
NUCOR TUBULAR PRODUCTS INC.,                          )
                                                      )
                         Defendant-Intervenor.        )
                                                      )
                                                      )


                 JOINT STATUS REPORT AND PROPOSED BRIEFING SCHEDULE

     Plaintiff HiSteel Co., Ltd. has consulted with all parties of record to this

proceeding, and hereby submit the following Joint Status Report and Proposed Briefing

Schedule, in accordance with Rule 56.2(a) of the Rules of this Court.

I.   JOINT STATUS REPORT

     All parties have consented to the following responses as provided for in Rule 56.2(a)

of this Court.

     1.   Does the Court have jurisdiction over the action?

     This appeal challenges certain aspects of the United States Department of

Commerce’s final results of an administrative review of the antidumping order on heavy

walled rectangular welded carbon steel pipes and tubes from the Republic of Korea. See

Heavy Walled Rectangular Welded Carbon Steel Pipes and Tubes from the Republic of

Korea: Final Results of Antidumping Duty Administrative Review; 2019–2020, 87 Fed.

Reg. 20390 (April 7, 2022). Plaintiff believes that the Court possesses jurisdiction to


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entertain this action pursuant to 28 U.S.C. § 1581(c) and 19 U.S.C. § 1516a(a)(2)(B)(iii).

Defendant and Defendant-Intervenors are currently unaware of any reason upon which

to challenge the jurisdiction of the Court at this time.


      2.    Should the case be consolidated with any other case, or should any portion of
            the case be severed, and the reasons for such severance?

     The parties are unaware of any cases with which this proceeding should be

consolidated.

     All parties agree that no portion of the cases should be severed.

      3.    Should further proceedings in this case be deferred pending consideration of
            another case before the Court or any other tribunal and the reasons for such
            deferral?

     All parties agree that further proceedings should not be deferred pending

consideration of another case before this Court or any other tribunal.

      4.    Should the Court be aware of any other information at this time?

     Dong-A-Steel Co., Ltd. (“DOSCO”) has filed a motion to intervene as a matter of right in

this action (ECF No. 26). Defendant opposes DOSCO’s intervention (ECF No. 36). Because

DOSCO’s motion to intervene is still pending before the Court, DOSCO has not been included

as a party to this filing.

     II.    PROPOSED BRIEFING SCHEDULE

     Plaintiff submits that, in accordance with the timetable set forth in Rule 56.2(d),

Plaintiff’s motion for judgment on agency record and opening briefs shall be submitted

within 60 days of the date of the Court’s scheduling order (which would be Monday,

October 17, 2022, 1 if the Court were to issue its order on the date of this filing); the

responses by Defendant and Defendant-Intervenor to that motion shall be submitted

within 60 days of Plaintiff’s motion (which would be Friday, December 16, 2022, if the


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  If the Court were to issue its order on the date of this filing, the deadline for the
motion for judgment on agency record and opening briefs would fall on Sunday,
October 16, 2022. In accordance with Rule 6(a)(1)(C), the deadline would be extended
to Monday, October 17, 2022.

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Court were to issue its order on the date of this filing); and any reply by Plaintiffs shall

be due within 28 days of those responses (which would be Friday, January 13, 2023, if

the Court were to issue its order on the date of this filing). Any motion for oral argument

will correspond to the deadline delineated in Rule 56.2(e) of this Court (i.e., within 21

days from the filing of reply briefs). The parties therefore respectfully propose the

following briefing schedule:

     A.   Plaintiffs shall file their motion for judgment on the agency record and opening

          briefs no later than Monday, October 17, 2022;

     B.   Defendant and Defendant-Intervenors shall file their response briefs no later

          than Friday, December 16, 2022;

     C.   Plaintiffs shall file their reply brief no later than Friday January 13, 2023; and

     D.   Any motion for oral argument shall be filed no later than 21 days after service

          of the reply briefs, or 21 days after the expiration of the period of time allowed

          for service of the reply briefs.


                                               Respectfully submitted,

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                                                 Proposed Plaintiff-Intervenor
                                                   Dong-A-Steel Co., Ltd.




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                                   General

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                                    Director

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Date: August 17, 2022




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